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Robert T. Bell
Reep, Bell, Laird & Jasper
PO Box 16960
                                                           FILED
2955 Stockyard Road                                         NOV 16 2017
Missoula, MT 59808
                                                         c'i~~Cts.J~trict Court
Facsimile: 406-541-4101                                               ontana
                                                               Mrssou/a
Telephone: 406-541-4100
bell@westernmontanalaw.com
Attorney for Defendant-Intervenor-Applicants
Safari Club International and
National Rifle Association ofAmerica


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


NORTHERN CHEYENNE TRIBE, et al.,
                                               CV 17-00119-DLC
            Plaintiffs,
      vs.
                                                BRIEF IN SUPPORT OF MOTION
RYAN ZINKE, et al.,                            TO INTERVENE BY SAFARI CLUB
                                                  INTERNATIONAL AND THE
            Defendants,                        NATIONAL RIFLE ASSOCIATION
                                                        OF AMERICA
SAFARI CLUB INTERNATIONAL and
NATIONAL RIFLE ASSOCIATION OF
AMERICA,

             Defendant-Intervenor
             Applicants.
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                              I.     INTRODUCTION

      Safari Club International and the National Rifle Association of America

("Safari Club/NRA") seek to participate as Defendant-Intervenors in this matter to

defend the U.S. Fish and Wildlife Service's ("Service") decision to delist the

Greater Yellowstone Ecosystem ("GYE") population of grizzly bears (Ursus arctos

horribilis). Safari Club/NRA move to participate as parties to represent their own

interests and the interests of their members who seek to hunt grizzly bears in the

GYE once authorized by the states and who will benefit by other wildlife

management efforts that are possible now that the grizzlies are delisted in this area.

Safari Club has participated defendant-intervenor in past litigation regarding the

delisting of the GYE grizzlies and filed numerous comments with the Service

regarding the delisting.

      Safari Club/NRA should be granted intervention as of right because (1) this

motion is timely and will not cause prejudice or delay to any of the parties; (2)

Safari Club/NRA and their members have significant protectable interests in the

subject matter of this litigation; (3) these interests would be harmed if Plaintiffs

Northern Cheyenne Tribe, et al. ("Northern Cheyenne Tribe") prevail in this legal

challenge; and (4) Safari Club/NRA's interests cannot be adequately represented

by Federal Defendants or State of Wyoming. If this Court does not grant Safari

Club/NRA intervention as of right, it should grant Safari Club/NRA permissive
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intervenor status, because Safari Club/NRA's defenses and the main action have

questions of law and fact in common. Finally, if this Court grants neither

intervention as of right or permissive intervention, Safari Club/NRA should be

granted leave to participate as amici curiae.


               II.    PROCEDURAL HISTORY OF THE CASE

      Northern Cheyenne Tribe filed their original complaint on August 30, 2017.

ECF 1. While the parties have made filings related to the service of the complaint,

pro hac vice admissions, and other procedural issues, the parties have not filed any

substantive motions or established a briefing schedule on the merits. The Federal

Defendants filed an answer on November 6, 2017. ECF 11. The Court granted the

State of Wyoming's motion to intervene as a defendant. ECF 10.


                        III.   FACTUAL BACKGROUND

      After a multi-year, extremely complex rulemaking, the Service removed the

GYE grizzly population from the list of threatened species. Removing the Greater

Yellowstone Ecosystem Population of Grizzly Bears From the Federal List of

Endangered and Threatened Wildlife, 82 Fed. Reg. 30502 (June 30, 2017)

(effective July 31, 2017) ("Delisting Rule"). Based on the "best available

scientific and commercial data," the Service made two relevant determinations

about the GYE population of grizzly bears:


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      •      the GYE grizzly bears are "a valid distinct population segment"

             ("DPS"); and

      •      the "DPS has recovered and no longer meets the definition of an

             endangered or threatened species under the Endangered Species Act"

             ("ESA").

Id. at 30502. More specifically, "[t]he Service has determined that the GYE

grizzly bear population has increased in size and more than tripled its occupied

range since being listed as threatened under the Act in 197 5 and that threats to the

population are sufficiently minimized." Id. In addition, the Service explained that

post-delisting management would ensure continued recovery-"[t]he participating

States of Idaho, Montana, and Wyoming and Federal agencies have adopted the

necessary post-delisting plans and regulations, which adequately ensure that the

GYE population of grizzly bears remains recovered." Id.

      The Service fully addressed the whitebark pine issue that led to the reversal

of the previous 2007 delisting. Id. at 30537-41 (citing numerous recent studies).

Regarding all food sources, the Service concluded:

      [i]n summary, the best scientific and commercial data available
      regarding grizzly bear responses to food losses suggest this issue is
      not a threat to the GYE grizzly bear population and is not an
      impediment to long-term population persistence. Therefore, we
      conclude that changes in food resources do not constitute a threat to
      the GYE grizzly bear DPS now, nor are such changes anticipated to
      constitute a threat in the foreseeable future.


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Id. at 30540.

      The Service addressed the impact of the delisting, which is primarily to

return to the states and tribes the primary responsibility to manage the species.

"However, actions within the DPS would still be managed by State, Tribal, and

Federal laws, regulations, policies, and management plans ensuring enforcement of

the 2016 Conservation Strategy. Delisting the GYE grizzly bear DPS is expected

to have positive effects in terms of management flexibility to the States and local

governments." Id. at 30628. The states and tribal authorities have adopted

regulatory mechanisms for the grizzly bears, including well-regulated hunting, to

occur when authorized and within established mortality limits. Id. at 30531-33 .


                                   IV.    ARGUMENT

A.    Safari Club/NRA Should Be Granted Intervention as of Right Under
      Federal Rule of Civil Procedure 24(a)

      Based on the adverse impact on their and their members' interests from an

negative ruling, Safari Club/NRA are entitled to intervene as a matter of right

under the Federal Rules of Civil Procedure.

                On timely motion, the court must permit anyone to intervene who:

                (2) claims an interest relating to the property or transaction that is the
                subject of the action, and is so situated that disposing of the action
                may as a practical matter impair or impede the movant's ability to
                protect its interest, unless existing parties adequately represent that
                interest.


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Fed. R. Civ. P. 24(a)(2); see also Scotts Valley Band ofPomo Indians v. United

States, 921F.2d924, 926 (9th Cir. 1990). The four requirements for intervention

as of right are: "( 1) the intervention is timely; (2) the applicant has a significant

protectable interest relating to the property or transaction that is the subject of the

action; (3) the disposition of the action may, as a practical matter, impair or impede

the applicant's ability to protect its interest; and (4) the existing parties may not

adequately represent the applicant's interest." Gonzales v. Arizona, 485 F.3d 1041,

1051 (9th Cir. 2007) (quotations omitted).

      When considering a motion to intervene, the Court should "construe Rule

24(a) liberally in favor of potential intervenors." Cal. ex rel. Lockyer v. United

States, 450 F.3d 436, 440 (9th Cir. 2006). In evaluating a Rule 24(a) motion to

intervene, "Courts are to take all well-pleaded, nonconclusory allegations" made in

support of intervention as true. Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d

810, 820 (9th Cir. 2001). Safari Club/NRA meet all criteria of Rule 24(a)(2), and

the Court should grant them status as defendant-intervenors as of right. 1



1
  Safari Club/NRA rely on the interests of their members to establish their
entitlement to intervene (or intervene permissively). See Californians for Safe &
Competitive Dump Truck Transp. v. Mendonca, 152 F.3d 1184, 1189- 90 (9th Cir.
1998) (union permitted to intervene in suit challenging state prevailing wage laws
because union members had a significant interest in receiving those wages); Sw.
Ctr. for Biological Diversity, 268 F.3d at 821- 22 (organizational intervenor had
"legal protectable interests" because they "sufficiently allege[ d] that their members
have projects that" could be adversely affected by the litigation).

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      1.     The Motion to Intervene Is Timely

      Considering the early stages of this case and lack of any substantive

proceedings, Safari Club/NRA's motion is timely. The Ninth Circuit considers

three criteria to determine whether a motion to intervene is timely: (1) the stage of

the proceeding at which the applicant seeks to intervene; (2) the prejudice to the

other parties; and (3) the reason for and length of any delay. United States ex rel.

McGough v. Covington Tech. Co., 967 F.2d 1391, 1394 (9th Cir. 1992). Prejudice

to the other parties is given the greatest weight in the court's review of the

timeliness of a motion to intervene. United States v. Oregon , 745 F.2d 550, 552

(9th Cir. 1984). "Timeliness is to be determined from all the circumstances. And

is to be determined by the court in the exercise of its sound discretion[.]" NAACP

v. New York, 413 U.S. 345, 366 (1973).

      This case was filed only a few months ago and is still in its early stages. The

existing parties have not filed any substantive motions, and the Court has not made

any rulings on the merits or even set a briefing schedule. If granted intervenor

status, Safari Club/NRA will abide by any case management order for the filing of

briefs. As a result, Safari Club/NRA's participation as an intervenor will not result

in prejudice to any of the parties. As Safari Club/NRA have not unduly delayed

filing this motion, the Court need not consider the reason for or length of any




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delay. In consideration of all the circumstances of this case, Safari Club/NRA's

motion to intervene is timely.

      2.     Safari Club/NRA Have Significant Protectable Interests in the
             Subject Matter of this Litigation

       Safari Club/NRA and their members have significant, protectable interests in

the subject matter of this litigation: the future hunting of grizzly bears as

authorized by the states and enhanced management flexibility by the states in

managing grizzly bears and other species. "An applicant has a significant

protectable interest in an action if (1) it asserts an interest that is protected under

some law, and (2) there is a relationship between its legally protected interest and

the plaintiffs claims." United States v. City of Los Angeles, 288 F.3d 391, 398 (9th

Cir. 2002) (internal quotation marks omitted). This is "not a clear-cut or bright-

line rule, because no specific legal or equitable interest need be established." Id.

"[T]he 'interest' test is primarily a practical guide to disposing oflawsuits by

involving as many apparently concerned persons as is compatible with efficiency

and due process." County ofFresno v Andrus, 622 F.2d 436, 438 (9th Cir. 1980)

(quoting Nuesse v. Camp, 385 F.2d 694, 700 (D.C. Cir. 1967).

      Both Safari Club and the NRA have members with strong interests in

preserving the GYE grizzly bears delisting. With the delisting, primary

management authority returns to the three states-Idaho, Montana, and



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Wyoming- which will allow the hunting of grizzly bears when authorized. 2 The

delisting will also allow the three states to exercise increased management

authority over grizzly bears, which will benefit the hunting of other game species.3

Thus, the interests of Safari Club/NRA members related to hunting grizzly bears

and other species discussed below are protected under state law and related to the

plaintiffs' claims. City ofLos Angeles, 288 F.3d at 398.




2
  Delisting Rule, 82 Fed. Reg. at 30530 (listing authorities for each state and
discussing designation of grizzly bears as a game species in three states following
delisting and option of each state to "institute a carefully regulated hunt with
ecosystem-wide coordinated total mortality limits."); see also Idaho Code Ann. §
36-409(a), (b) (discussing resident and nonresident game tags "to hunt and kill a
moose, bighorn sheep, mountain goat, elk, deer, antelope, mountain lion, black
bear, grizzly bear, wolf, sandhill crane or turkey in accordance with the laws of this
state and rules promulgated by the commission; .. ..");Mont. Code Ann. § 87-2-
101 ("Game animals" means deer, elk, moose, antelope, caribou, mountain sheep,
mountain goat, mountain lion, bear, and wild buffalo.); Mont. Code Ann. § 87-5-
302(2) ("the commission shall establish hunting season quotas for grizzly bears
that will prevent the population of grizzly bears from decreasing below sustainable
levels and with the intent to meet population objectives for elk, deer, and
antelope."); Wyo. Stat. Ann.§ 23-1-lOl(a)(xii) ("Trophy game animal" include
grizzly bears); Wyo. Stat. Ann. § 23-2-lOl(j)(xxviii-xxix) (discussing license fees
for grizzly bears).
3
  See Delisting Rule, 82 Fed. Reg. at 30628 ("Delisting the GYE grizzly bear DPS
is expected to have positive effects in terms of management flexibility to the States
and local governments."); Idaho Code Ann.§ 36-409(a), (b) (discussing resident
and nonresident game tags to hunt "moose, bighorn sheep, mountain goat, elk,
deer, antelope, .... "); Mont. Code Ann.§ 87-2-101(4) ("Game animals" includes
deer, elk, moose, antelope, caribou, mountain sheep, mountain goat, ... and wild
buffalo); Wyo. Stat. Ann.§ 23-1-lOl(a)(i) ("'Big game animal' means antelope,
bighorn sheep, deer, elk, moose or mountain goat").

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      Safari Club/NRA members would like to hunt the bears in all three states,

when it becomes legal. For example, Montana resident and Safari Club member,

John Atcheson, would plan to hunt for an entire season if given the opportunity.

Atcheson Deel., ii 7, Exh. 1. Safari Club and NRA member, Thomas Lavelle,

owns a business in Montana and would like to hunt grizzlies in the GYE. Lavelle

Deel., ii 9, Exh. 2. Edwin Johnson, a hunting outfitter in Montana and Safari Club

member, would hunt grizzlies himself and take clients on bear hunts. Johnson

Deel. ii 8, Exh. 3. William Hoese, a member of Safari Club and resident of

Wyoming, would make plans to hunt grizzly bears in Wyoming. Hoese Deel., ii 8,

Exh. 4. Anthony Rafla, Safari Club and NRA member and Idaho resident, would

apply for a tag and pursue a bear hunt in Idaho. Rafla Deel., ii 9, Exh. 5.

      For many hunters, the GYE grizzly bear delisting provides other benefits

beyond the possible opportunity to hunt the bears. Mr. Atcheson concludes that

having a grizzly bear hunt would increase social tolerance for the bears. Atcheson

Deel., ii 9. He also has an interest in hunting other species that would be better

managed in balance with the grizzly bears, when the bears are managed by the

states. Id., iii! 8, 10. Mr. Lavelle has a similar interest in hunting other species that

need to be managed in balance with the bears. Lavelle Deel., ii 12. Grizzly bear

hunting would benefit Mr. Johnson's business. Johnson Deel., iii! 8, 10. Mr.

Johnson also worries that the bears are too aggressive now, and believes a fear of


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humans resulting from bear hunting would be beneficial for public safety.    Id.,~   9.

Mr. Hoese currently chooses not to hunt other species in areas with grizzly bears

due to safety concerns. He believes the bears have no fear of humans because they

have never been hunted. Hoese    Deel.,~   9. Mr. Rafla believes that bear hunts

would lessen the amount of human-bear conflict that currently occurs in the GYE.

Hafla Deel.,~ 10. If the bears become more fearful of humans, "fewer bears will

be killed out of self-defense or from culling of bears that have been involved in

altercations with humans." Id.

      Safari Club/NRA also each have their own interests in the delisting and the

improved state management and conservation of the species. "SCI is a nonprofit

corporation incorporated in the State of Arizona, operating under § 501 (c)(4) of the

Internal Revenue Code, with principal offices and place of business in Tucson,

Arizona," and has a "membership [of] approximately 50,000 individuals from the

United States and many of the countries around the world," including in Idaho,

Montana, and Wyoming. Goodenow        Deel.,~~   3-4, Exh. 6. SCI's mission "is to

protect the freedom to hunt and promote wildlife conservation worldwide."     Id.~    5.

"SCI' s purposes include:

      • To advocate, preserve and protect the rights of all hunters.
      • To promote safe, legal and ethical hunting and related activities.
      • To engage in advocacy within the limits imposed by law and regulation,
        to monitor, support, educate or otherwise take positions on local, national
        and international legislative, executive, judicial or organizational
        endeavors that foster and support these purposes and objectives."
                                           10
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Id.

      The NRA "is an Internal Revenue Code Section 501 (c)(4) nonprofit

membership organization, incorporated in the state of New York in 1871, with its

principal place of business in Fairfax Virginia." Cox Deel., ~ 4, Exh. 7. Today the

NRA "has approximately 5,000,000 individual members, many of whom reside

[and hunt] in and around the Greater Yellowstone Ecosystem in Idaho, Montana,

and Wyoming."     Id.~~   5, 12. The NRA's bylaws direct it "'to promote hunter

safety, and to promote and defend hunting as a shooting sport and as a viable and

necessary method of fostering the propagation, growth and conservation of our

renewable wildlife resources."'    Id.~   6. The NRA has many employees dedicated

to carrying out that objective.   Id.~~   8-10.

      Safari Club/NRA seek to intervene in this litigation to protect the interests of

their many members who desire to hunt grizzly bears in the GYE once authorized

by the states. Those members also hunt other game species in the area. Having the

states manage the grizzly bears will allow the states to better manage predators and

prey in balance with each other. This will lead to improved conditions for the

hunting of other species. Safari Club/NRA satisfy the interest requirement.




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      3.       Safari Club/NRA Are so Situated that Disposition of this Proceeding
               May, as a Practical Matter, Impair or Impede Their Ability to
               Protect Their Interests

      Success by Northern Cheyenne Tribe in this case will lead to the relisting of

the GYE grizzly bears, which would, as a practical matter, impair or impede the

interests of Safari Club/NRA and their members. The Ninth Circuit "follow[s] the

guidance of Rule 24 advisory committee notes that state that '[i]f an absentee

would be substantially affected in a practical sense by the determination made in

an action, he should, as a general rule, be entitled to intervene."' Sw. Ctr. for

Biological Diversity, 268 F.3d at 822 (quoting Fed. R. Civ. P. 24 advisory

committee's notes). Reversing the delisting would return the GYE grizzlies to the

threatened species status and prevent the states from authorizing a bear hunt and

taking other management actions in relation to grizzlies that benefit the hunting of

other game species. See, e.g., 16 U.S.C. § 1538(a)(l)(B) (prohibitions on "take"

(e.g., kill or harm) of endangered species); 50 C.F.R. § 17.31(a) (with limited

exceptions, applying§ 1538 take prohibitions to threatened species).

           As described above and in detail in their declarations, Safari Club/NRA

members are so situated that the disposition of this case in plaintiffs' favor would

impair their concrete interests in hunting grizzlies and other species. It will also

impair Safari Club/NRA's interests in proper wildlife management and

conservation of wildlife. See Delisting Rule, 82 Fed. Reg. at 30628 ("Delisting the


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GYE grizzly bear DPS is expected to have positive effects in terms of management

flexibility to the States and local governments."); Goodenow Deel., i1i1 5-7; Cox

Deel., i-fi-16, 8-10.

       4.      The Existing Parties Do Not Adequately Represent the Interests of
               Safari Club/NRA

               a.       Standards for Determining Adequacy ofRepresentation

       Based on the standards for inadequate representation, Safari Club/NRA' s

interests cannot be adequately represented by the existing parties in this litigation.

Ordinarily, a party's burden to show the inadequacies of the representation

provided by existing parties is minimal. See Trbovich v. United Mine Workers,

404 U.S . 528, 538 n.10 (1972) (An applicant need only show "that representation

of his interest 'may be' inadequate; and the burden of making that showing should

be treated as minimal."). Three factors help determine whether an existing party

will adequately represent an applicant's interests: (1) "whether [a present party]

will undoubtedly make all of the intervenor's arguments"; (2) "whether [a present

party] is capable of and willing to make such arguments"; and (3) "whether the

intervenor offers a necessary element to the proceedings that would be neglected."

Prete v. Bradbury, 438 F.3d 949, 956 (9th Cir. 2006) (quoting Sagebrush Rebellion

Inc. v. Watt, 713 F.2d 525, 528 (9th Cir. 1983).

       The courts have explained that "[t]he 'most important factor' in assessing

the adequacy of representation is 'how the interest compares with the interests of
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existing parties."' Citizens for Balanced Use v. Mont. Wilderness Ass 'n, 647 F.3d

893, 898 (9th Cir. 2011) (citation omitted). "When an applicant for intervention

and an existing party have the same ultimate objective, a presumption of adequacy

of representation arises .... If the applicant's interest is identical to that of one of the

present parties, a compelling showing should be required to demonstrate

inadequate representation." Arakaki v. Cayetano, 324 F.3d 1078, 1086 (9th Cir.

2003), as amended (May 13, 2003). In addition, an assumption of adequacy also

arises when the existing party with the shared interest is the government who is

acting on behalf of a constituency that it represents. Id. "In the absence of a 'very

compelling showing to the contrary,' it will be presumed that a state adequately

represents its citizens when the applicant shares the same interest." Id.

              b.     The Relevant Factors Demonstrate that Existing Parties Do Not
                     Represent Safari Club/NRA 's Interests

       Safari Club/NRA's interests cannot be represented by the other parties in

this case because Safari Club/NRA bring to this litigation a unique perspective-

that of the hunters whose interests in hunting grizzly bears and other game would

be directly affected by reversal of the delisting. The Federal Defendants and State

of Wyoming are governmental entities who regulate the activities of the public.

They do not have plans to hunt grizzly bears and other species in the GYE. In

short, they are the regulators, while Safari Club/NRA and their members are a

discrete part of the regulated public. The Service did not deli st the GYE grizzlies
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to benefit the interests of the hunting public-one of its constituents. Instead, they

based their delisting decision on the available scientific information, regardless of

the effect of the deli sting on the hunting community. As explained further below,

Safari Club/NRA do not have comparable or identical interests with the existing

parties; the Federal Defendants were not acting on behalf of a constituency-the

hunting community-that they represent; the presumptions do not apply; and, to

the extent the presumptions apply, Safari Club/NRA overcome them.

      For similar reasons, the existing defendants will not "undoubtedly make all

of [Safari Club/NRA' s] arguments" and is not "is capable of and willing to make

such arguments." This case is extremely complicated. So far, different plaintiffs
                                                     4
have brought six lawsuits challenging the delisting. In the five lawsuits currently

before this Court, the plaintiffs have asserted 28 claims. While the lawsuits share

some similar claims, they also contain claims not shared by all the other plaintiffs.

Assuming the Court consolidates the cases, the Federal Defendants and State of

Wyoming will have to address all these claims in a single proceeding. While the

Court and parties cannot know the exact contours of the litigation now, it is highly

unlikely that the Federal Defendants and State of Wyoming will be able to make
4
  Five lawsuits are currently pending in this Court, while an individual brought a
sixth lawsuit in the District Court for the Northern District of Illinois. Aland v.
US. Dept. of the Interior et al., Case No. 17-6501. The Federal Defendants have
moved to transfer that case to this Court. ECF 11-12 (filed Oct. 4, 2017). The
Court has scheduled a status hearing on that motion for January 10, 2018. ECF 14
(filed Oct. 16, 2017).

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all of the arguments that Safari Club/NRA will want to make, especially those

arguments focused on hunting issues. 5

       Safari Club/NRA bring "a necessary element to the proceedings that would

be neglected" because the existing parties do not represent a pro-hunting

perspective. As explained above, the Federal Defendants and State of Wyoming

are the regulators, not parties who would partake in the hunting of grizzly bears

and other game. None of the plaintiffs support the hunting of grizzly bears. In

fact, most are strongly anti-hunting. Safari Club/NRA are the direct foils of these

plaintiffs.

5
  The courts have allowed Safari Club/NRA to be defendant intervenors in other
ESA delisting and listing cases, including many times in this Circuit. In the
following cases, Safari Club/NRA have argued issues not addressed or not fully
addressed by the Federal Defendants and other defendants (usually the affected
state(s)). Greater Yellowstone Coal., Inc. v. Servheen, 2008 WL 11348731 (D.
Mont. Apr. 25, 2008) (Court granting Safari Club's motion to intervene in previous
grizzly bear delisting litigation); Defenders of Wildlife v. Hall, 565 F. Supp. 2d
1160 (D. Mont. 2008) (Safari Club and NRA participated as defendant-intervenors
in case challenging the Service's delisting of a wolf population); Alliance for the
Wild Rockies v. Salazar, 672 F.3d 1170 (9th Cir. 2012) (Safari Club and NRA
participated as defendant-intervenors in case challenging constitutionality of Act
passed by Congress directing delisting of a wolf population); Defenders of Wildlife
v. Secretary, US. Dep 't of the Interior, 354 F. Supp. 2d 1156, n. l (D. Or. 2005)
(Safari Club participated as defendant-intervenor in case challenging downlisting
of gray wolves from endangered to threatened); Cary v. Hall, 2006 WL 6198349
(N.D. Cal. Sept. 30, 2006) (Court granting Safari Club's motion to intervene in
litigation challenging rule related to endangered listing of three antelope species);
In re Polar Bear Endangered Species Act Listing & 4(d) Rule Litig., 794 F. Supp.
2d 65, 78 n.20 (D.D.C. 2011) (noting that Safari Club was a Defendant-Intervenor;
Safari Club was also a plaintiff), affd sub nom. In re Polar Bear Endangered
Species Act Listing & Section 4(d) Rule Litig:J_ 709 F.3d 1 (D.C. Cir. 2013).

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      While Safari Club/NRA can take steps to avoid duplicating the arguments of

the other defendants, if they are not made parties to this case, nothing ensures that

the arguments they would make, especially those involving hunting, will be before

the Court. All these factors support Safari Club/NRA' s intervention in this case.

      The primary intervention factors favor intervention here, but the Court must

further consider whether any presumption applies by considering whether ( 1)

Safari Club/NRA have the same "ultimate objectives" as the Federal Defendant,

(2) Safari Club/NRA have a shared interest with the Federal Defendants, and (3)

Federal Defendants are acting on behalf of a constituency that they represent (here,

Safari Club/NRA). See Citizens for Balanced Use, 647 F.3d at 898. As explained

above, Safari Club/NRA's "ultimate objective" is to preserve the delisting so that

the three states can ( 1) authorize grizzly bear hunts when appropriate, and (2) take

other management actions that benefit other game species who Safari Club/NRA

members hunt. The Federal Defendants' interests and "ultimate objective" are

broader and less focused. They seek to preserve a duly made administrative

decision, which they believe the law and facts (e.g., scientific information) compel

them to make.

      In addition, the Federal Defendants have an obligation to represent a broad

constituency (all citizens) of which Safari Club/NRA members represent a limited

group with special interests. The Federal Defendants cannot adequately represent


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Safari Club/NRA's interests while they represent the panoply of interests of its full

constituency. '"Inadequate representation is most likely to be found when the

applicant asserts a personal interest that does not belong to the general public."'

Forest Conservation Council v. US. Forest Serv., 66 F.3d 1489, 1499 (9th Cir.

1995) abrogated on other grounds by Wilderness Soc. v. US. Forest Serv., 630

F.3d 1173 (9th Cir. 2011) (citations omitted) (timber industry intervenors had

interests in the outcome of the litigation that were more extensive and yet more

parochial than the interests of the general public that the Forest Service defendants

represented); Californians For Safe & Competitive Dump Truck Transp. v.

Mendonca, 152 F.3d 1184, 1190 (9th Cir. 1998) (Ninth Circuit upheld intervention

for International Brotherhood of Teamsters, finding that the interests of the

Teamsters' members were more narrow and parochial than those of the public at

large).

          For these reasons, the presumptions either do not apply at all, or are rebutted

by the compelling need for Safari Club/NRA to represent the focused interests of

those who seek to hunt grizzly bears (when allowed by the states) and who support

increased management by the states over grizzly bears for the benefit of other

game species.

          Although Federal Defendants intend to defend the delisting, they have an

obligation in doing so to represent both those who wish to hunt and those who


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oppose hunting (and everyone else). In contrast, Safari Club/NRA must focus on

promoting and protecting its members' opportunities to hunt grizzlies and other

game in the GYE. Federal Defendants (and Wyoming), despite their shared

interest in the outcome of this case, cannot and will not defend the deli sting with

the same focus and interest in hunting as Safari Club/NRA will apply.

B.    Safari Club/NRA Also Satisfy Rule 24(b) Permissive Intervention
      Criteria

      In the alternative, Safari Club/NRA request permissive intervention under

Rule 24(b):

      ( 1) In General. On timely motion, the court may permit anyone to
      intervene who:

              (B) has a claim or defense that shares with the main action a
              common question of law or fact.

      (3) Delay or Prejudice. In exercising its discretion, the court must
      consider whether the intervention will unduly delay or prejudice the
      adjudication of the original parties' rights.

Fed. R. Civ. P. 24(b). 6 Here, permissive intervention is appropriate even ifthe

Court denies the motion to intervene as of right. As discussed supra at Argument

sections IV.A. I and IV.A.2, this motion is timely and Safari Club/NRA have

significant protectable interests in the subject matter of this action. Safari

6
 Permissive intervention is not a substitute for intervention as of right. If the party
qualifies for Rule 24(a) intervention, the Court must grant that status. Fed. R. Civ.
P. 24(a).

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Club/NRA's intervention will not unfairly prejudice the parties (e.g., Safari

Club/NRA will abide by all briefing schedules), and the severity of potential

impacts upon Safari Club/NRA weighs strongly in favor of allowing their

participation as a party.

       Safari Club/NRA's defenses of Federal Defendants' actions have multiple

questions of law and fact in common with the main action. Intervenors in the

Ninth Circuit satisfy the commonality standard by "assert[ing] defenses of the

[challenged agency action] directly responsive to the claims of injunction asserted

by plaintiffs." Kootenai Tribe ofIdaho v. Veneman, 313 F .3d 1094, 1110 (9th Cir.

2002), abrogated on other grounds by Wilderness Soc., 630 F.3d 1173. As

occurred when Safari Club defended the 2007 delisting, Safari Club/NRA intend to

defend the legality of the delisting and assumption of primary management

authority over the GYE grizzly bears by the three states. For example, in the

litigation over the 2007 delisting, Safari Club defended against claims that the

Service had not adequately considered the impact of the delisting on genetic

diversity, among other arguments. See Greater Yellowstone Coal., Inc. v.

Servheen, 672 F. Supp. 2d 1105, 1120-22 (D. Mont. 2009) (rejecting claim that

delisting failed to address genetic issues), order clarified, No. CV 07-134-M-




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DWM, 2009 WL 10677467 (D. Mont. Nov. 17, 2009), and aff'd in part, rev'd in
                                                                       7
part on other grounds and remanded, 665 F.3d 1015 (9th Cir. 2011).

      Accordingly, the Court should grant permissive intervention if it denies

intervention of right.

C.    Amici Status

      If, for any reason, this Court chooses not to grant Safari Club/NRA

intervenor status, Safari Club/NRA request that they be granted amici curiae status,

with the ability to submit amici arguments at each stage of the litigation.




7
  In litigation over the delisting of the Western Great Lakes wolves, Safari
Club/NRA intervened to defend the delisting. One of the main claims in that case
involved the argument that the Service improperly created a distinct population
segment ("DPS") and then immediately de listed the DPS. Humane Soc'y of the
United States v. Jewell, 76 F. Supp. 3d 69, 110 (D.D.C. 2014), aff'd sub nom.
Humane Soc'y of United States v. Zinke, 865 F.3d 585 (D.C. Cir. 2017). As in the
wolf case, the creation of a DPS for delisting purposes is one of the main issues
raised by the plaintiffs in the five cases (in fact, the plaintiffs here rely on the
courts' rulings in the wolf case). If granted intervention, Safari Club/NRA will
again present arguments to rebut these arguments.

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                                IV.    CONCLUSION

      Safari Club/NRA meet all criteria for intervention as of right, and the Court

should grant intervention as of right. Safari Club/NRA also have demonstrated

grounds for permissive intervention, and the Court should grant permissive

intervention if it does not grant intervention as of right. As a final alternative, this

Court should grant Safari Club/NRA amici status.
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DATED this        th day of November, 2017.




                                         2955 Stockyard Road
                                         Missoula, MT 59808
                                         Facsimile: 406-541-4101
                                         Telephone: 406-541-4100
                                         bell@westemmontanalaw.com
                                         Attorney for Defendant-Intervenor-
                                         Applicants Safari Club International
                                         and National Rifle Association ofAmerica

                                         Douglas S. Burdin (D.C. Bar. No. 434107)*
                                         Jeremy E. Clare (D.C. Bar No. 1015688)
                                         501 Second Street NE
                                         Washington, D.C. 20002
                                         Facsimile: 202-543-1505
                                         Telephone: 202-543-8733
                                         Email: dburdin@safariclub.org
                                                 jclare@safariclub.org
                                         Attorneys for Defendant-Intervenor-
                                         Applicant Safari Club International


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                             Michael T. Jean (MI Bar No. P76010)*
                             11250 Waples Mill Road
                             Fairfax, VA 22030
                             Facsimile: 703-267-1164
                             Telephone: 703-267-1158
                             Email: mjean@nrahq.org
                             Attorney for Defendant-Intervenor-
                             Applicant National Rifle Association of
                             America

                             * Pro Hae Vice to be submitted
                             concurrently.




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                    r
DATED this the       th day ofNovember, 2017.




                                      Reep, Bell, Laird & Jasper
                                      PO Box 16960
                                      2955 Stockyard Road
                                      Missoula, MT 59808
                                      Facsimile:
                                      Telephone: 406-541-4100
                                      Attorney for Defendant-Intervenor-
                                      Applicants Safari Club International
                                      and National Rifle Association ofAmerica




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      The undersigned certifies that on Novemberll{: 2017, the foregoing

document was served by email or first-class mail, postage prepaid, as agreed by

counsel, on the following attorneys:

      Coby Howell
      Office of the U.S. Attorney
      1000 SW Third Ave
      Suite 600
      Portland, OR 97204-2024

      Michael Richard Eitel
      U.S. Department of Justice
      Environment and Natural Resources Division
      Wildlife & Marine Resources Section
      999 18th Street
      South Terrace Suite 370
      Denver, CO 80202

      Adrian Ann Miller
      SULLIVAN MILLER LAW PLLC
      3860 Avenue B, Suite C East
      Billings, MT 59102

      Erik E. Petersen
      Senior Assistant Attorney General
      Wyoming Attorney General's Office
      Water & Natural Resources Division
      2320 Capitol Avenue
      Cheyenne, WY 82002

      Joshua Osborne-Klein
      ZIONTZ CHESTNUT VARNELL BERLEY & SLONIM
      2101 Fourth Avenue
      Suite 1230
      Seattle, WA 98121


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Joshua R. Purtle
Timothy J. Preso
EARTHJUSTICE LEGAL DEFENSE FUND - BOZEMAN
313 East Main Street
Bozeman, MT 59715




                               26
